Case 0:20-cv-60416-AMC Document 95-2 Entered on FLSD Docket 07/09/2021 Page 1 of 3




                          EXHIBIT 2
Case 0:20-cv-60416-AMC Document 95-2 Entered on FLSD Docket 07/09/2021 Page 2 of 3

                                       CONFIDENTIAL

                                                                       Page 1

   1                      UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
   2
                           CASE NO. 0:20-CV-60416-AMC
   3
   4      TOCMAIL INC., a Florida
          corporation,
   5
                          Plaintiff,
   6
          vs.
   7
          MICROSOFT CORPORATION, a
   8      Washington corporation,
   9                   Defendant.
  10      _______________________________/
  11
                                        March 17, 2021
  12                                    12:04 p.m. - 6:20 p.m.
  13
  14
                      VIDEOTAPED DEPOSITION OF JASON ROGERS
  15
                          TAKEN VIA ZOOM TELECONFERENCE
  16
  17
  18           Taken on behalf of the Defendant before
  19      Alice J. Teslicko, RMR, Notary Public in and for the
  20      State of Florida at Large, pursuant to an Amended
  21      Notice of Taking Video-Taped Deposition in the above
  22      cause.
  23
  24
  25

                                   Veritext Legal Solutions
       800-726-7007                                                      305-376-8800
Case 0:20-cv-60416-AMC Document 95-2 Entered on FLSD Docket 07/09/2021 Page 3 of 3

                                      CONFIDENTIAL

                                                                        Page 10

   1




  11             A    Microsoft Defender for Office 365.           So
  12      that's the -- when we talk about OATP, it's gone
  13      through a number of name changes.             So the latest name
  14      is MDO.
  15




                                   Veritext Legal Solutions
       800-726-7007                                                       305-376-8800
